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                IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




LINDA KNOEFERL,


        Plaintiff,
                                                          CV 116-152
             V.



CRACKER     BARREL       OLD    COUNTRY
STORE, INC,


        Defendant.




                                       ORDER




     Before        the    Court       is   Priscilla      Taveras       and     Bradley

Knoeferl's        unopposed     ""Motion        to    Substitute      Proper     Party"

pursuant to Federal Rule of Civil Procedure 25(a).                           (Doc. 47.)

Plaintiff, Linda Knoeferl, died on February 25, 2018.                           Counsel

for Plaintiff filed a notice               of    her death on March 23,           2018.

(Doc.    46.)      On    June   6,    2018,     the   Probate   Court   of     Columbia

County, Georgia, named Priscilla Taveras and Bradley Knoeferl as

Co-Temporary Administrators for                 the   Estate    of   Linda    Knoeferl.

(Doc. 47.)         On    June   11,   2018,     Priscilla      Taveras and Bradley

Knoeferl filed this motion asking to be substituted as party in

place of Plaintiff.         (Id.)
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     Rule    25(a)   governs   substitution    of   parties   after   death.

Under Rule 25(a):

  If a party dies and the claim is not extinguished, the
  court may order substitution of the proper party. A motion
  for substitution may be made by any party or by the
   decedent's successor or representative. If the motion is
   not made within 90 days after service of a statement
   noting the death, the action by or against the decedent
   must be dismissed.


Fed. R. Civ. P. 25(a). Linda Knoeferl died on February 25, 2018,

and her counsel noticed her death on March 23, 2018. Priscilla

Taveras     and   Bradley   Knoeferl   are    representatives    of   Linda

Knoeferl's estate and filed this motion to substitute within 90


days after the notice of death was served.              Accordingly, the

Court GRANTS the motion.       (Doc. 47.)     The Clerk SHALL TERMINATE

Linda Knoeferl as a party to this case and SUBSTITUTE Priscilla

Taveras and Bradley Knoeferl, as Co-Temporary Administrators of

the Estate of Linda Knoeferl, as plaintiffs.

     ORDER ENTERED at Augusta, Georgia, this                  day of July,

2018.




                                  J. RANDAL HALL,/CHIEF JUDGI
                                  UNITED OTATES DISTRICT COURT
                                 -..-SOUTHERN DISTRICT OF GEORGIA
